Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 1 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 2 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 3 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 4 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 5 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 6 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 7 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 8 of 9
Case 1:10-cr-10057-RWZ Document 77 Filed 08/11/11 Page 9 of 9
